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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION




ROYL.PERRY-BEY,
CARLOS A. HOWARD,                                                               ^                ^ ^
                                                                                V.23CV11(s5
              Petitioners,




DONALD JOHN TRUMP,


               Respondent.



              COMPLAINT AND REQUEST FOR DECLARATORY RELIEF

       Petitioners now come before this honorable Court seeking declaratory relief on the

specific issue of whether candidate Donald John Trump is indeed constitutionally prohibited

from seeking a second term as President of the United States. Encompassed within this request

for declaratory relief is a further determination as to whether candidate Trump is indeed even

eligible to participate in the upcoming Virginia Republican Party Primary scheduled for next

spring in 2024.

       In bringing this request for declaratory relief Petitioners have carefully studied the

specific provisions of the Constitution which govem whether an individual who participates

in an overt insurrection or rebellion against the U.S. government is effectively disqualified

fi-om service in the federal government, whether as a Representative, U.S. Senator, Vice-

President or President ofthe United States.



       For purposes ofstanding. Petitioners "electors" registered voters assert that they had

actively participated in past Presidential elections dating back to 1977 when they cast their

vote being over the age of eighteen.
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It should be noted that in the course ofthese past Presidential elections, Petitioner has cast

their vote for both Democratic and Republican tickets and was a registered Independent for

many years. Petitioners are legal residents ofthe state of Virginia and U.S. citizens by birth


        The facts ofthis case are undeniably simple. Donald J. Trump served a the 45*^ President

ofthe United States having won the election in 2016 and was inaugurated on January 20, 2017.

He served for four years until he lost the 2020 Presidential Election to Joseph R. Biden, Jr. who

took office on January 20,2021. President Trump chose not to appear at the inauguration of his

successor. Having left for his estate in South Florida while the ceremony was taking place.



        On January 6,2021, after giving a speech to a throng on the Ellipse near the Capitol,

President Trump exhorted the throng to march to the Capitol and told them that he would be

right there with them. After he was finished with his speech. Trump returned to the White House

and watched he later events unfold on television. As we are well aware, the throng marched on

the Capitol, forced their way into the Capitol building, ransacked the rotunda area, and even

made their way into several offices of representatives and senators. As the confirmation ofthe

results ofthe election were being undertaken in the House, alarms went off and the members

scurried into safe tunnels and secure rooms in the basement ofthe Capitol. Of note. Vice

President Mike Pence missed being reached by some ofthe throng by a matter ofseconds as

he made his way down the stairwell to a secure area. Eventually, several high-ranking members

ofthe government were shuttled to a safe area at Fort McNair in SW Washington.



Of note. President Trump had sent out a tweet the day before claiming that "January 6^
will be wild".


TAKE NOTICE:"The former president's efforts to overturn the 2020 presidential election, and
resulting attack on the U.S. Capitol, place him squarely within the ambit of the disqualification
clause, and he is therefore ineligible to serve as president ever again. J. Michael Lotting, Federal
Appellate Judge & Laurence H. Tribe, Law Professor
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 Trump also later remarked that the insurrectionists who had breached the Capitol were "special

"and that"we love you". He also later remarked that had Vice-President Pence

simply done his job and refused to certify the results of the election that everything would have

been fine. Not for several hours were the National Guard called in to quell the insurrection as

allegedly President Trump refused to do so and had been mesmerized by the events that were

taking place on his television at the White House.


        Since the events of January 6"*, hundreds of insurrectionists have been charged and tried

and convicted on charges ranging from simple mischief, seditious conspiracy, obstruction of an

official proceeding to assault and battery upon Capitol police officers. A number ofindividuals

actually lost their lives that day as a result of the mayhem.


       Recently, the Special Coimsel, Jack Smith, who had been appointed by the U.S. Attomey

General, submitted his findings on the events of January b"*, to an empaneled grand jury in D.C.

which retumed indictments against former President Trump for, among other things, rebellion or

insurrection against the U.S. federal government. Trump was arraigned on these charges and now

 awaits trial March 4,2024. See: D.C. Grand Jury Retumed Indictments Exhibit(s) B.

       It should be noted at least cursorily that Trump has also been formally indicted on

charges of holding top secret classified documents at his home in Palm Beach, Florida, which

is a federal offense, and has also been indicted by the City of Manhattan and State of Georgia

for other election related theft crimes, rape, hush money payments, and falsifying business

records related to hush money payments he'd made. However none ofthese other crimes have

 the effect of preventing former President Trump from seeking reelection in November,2024.

Of note. The Jan. 6 select House committee voted to refer former President Donald John

Trump to the Department of Justice for criminal investigation and potential prosecution for

trying to overtum the 2020 election. The criminal referral of Tmmp accuses him of

obstmcting an official proceeding, conspiracy to defraud the govemment, and inciting or

assisting an insurrection or rebellion.
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              THE LAW ON THE MATTER OF INCITING INSURRECTION
                          AGAINST THE FEDERAL GOVERNMENT



        The Fourteenth Amendment to the U.S. Constitution was ratified in 1868 in the shadow

ofthe Civil War and was designed to represent a new birth offreedom for previously

disenfranchised citizens. Ofparticular note. Section 3 ofthe 14* Amendment,automatically

excludes from future office and position of power in the U.S. government and as well, from any

office and position of power in the sovereign states and their many subdivisions, any individual

who has previously taken an oath to support and defend our Constitution and after which acts so

as to rebel against that charter, either via overt insurrection or by giving aid or comfort to the

Constitutions' enemies.



       In carefully analyzing this language embedded in the Constitution, numerous legal


scholars have wrangled with the preeminent issue of whether an actual conviction is necessary

to trigger the prohibition ofrunning for office. This so-called "disqualification clause" has been

determined to operate completely independently of any pending criminal proceedings and also

independent of any impeachment proceedings or congressional legislation. Former federaljudge

Michael Luttig ofthe U.S. Court of Appeals for the Fourth Circuit and noted legal scholar

Laurene Tribe have both come to the inescapable conclusion that the "disqualification clause"

was designed to operate directly and immediately upon this certain individuals who betray their

oaths to the U.S. Constitution, whether by taking up arms to overturn our government or by

waging war on our federal government by attempting to overturn the results ofa presidential

election through a bloodless coup.


       President Trump's efforts both in Washington, as well as in Georgia and perhaps other

states, as well as the consequential assault on the US Capitol, put Trump at the center ofthe

disqualification clause, and as a result of which, make him ineligible to ever serve in federal
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office again. Now given that the facts seem to be crystal clear that Trump was involved to some

extent in the rebellion or insurrection that took place on January 6^'^, the sole remaining question
is whether American jurists who swear an oath to uphold the US Constitution upon their entry to

the bench, will choose to follow the letter ofthe Constitution in this case. The January 6th 117th

U.S. Congress Second Session Final House Report 117-000, and D.C. Grand Jury Indictments

that is hereby incorporated herein and made a part hereof by reference as if set fort in full

attached hereto as Exhibit(s) A & B.


       Ofparticular note in this regard is that during his one term in office. President Trump had

the opportunity to appoint three new Supreme Courtjustices to the high court. Each of these

three jurists. Justice Neil Gorsuch, Justice Brett Kavanaugh and Justice Amy Coney Barrett are

viewed as conservative jurists who err on the side of a strict construction ofthe US Constitution.

In their decision to overturn the long standing case law of Roe v. Wade,the justices found that

there was no "right of privacy" imbued in the Constitution and none could be fashioned out of

whole cloth. Rather the most difficult decisions that the Court is forced to make such as whether

a woman has the inherent right to abort her unborn child, is one that must be decided by looking

at a very strict construction ofthe Constitution as our Founding Fathers saw fit to provide.

       Interestingly enough. Section 3 ofthe 14^ Amendment, which provides for the

disqualification ofan individual who commits insurrection against our government has remained

on the books for some one hundred and fifty plus years without ever facing question as to its

legitimacy. While one can certainly argue that it has not been thoroughly tested, that fact is only

because we have not faced an insurrection against our federal government such as the one while

we faced on January 6,2021. It should also be noted that President Trump has since made

statements to the effect that should he be elected, he would advocate the total elimination ofthe

US Constitution and the creation of a new charter more in line with his personal values.


       The 14'*^ Amendment was promulgated and subsequently ratified in the context of post

Civil War America when even after losing the Civil War,southern states were sending men to
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Congress who had held prominent roles in the Confederacy and supported acts of insurrection

against the U.S.



       Any number of top legal scholars, including but not limited to Judge Luttig and Laurence

Tribe conclude that Section 3 requires absolutely no legislation, criminal conviction or other

judicial action to enforce its command. In legal terms. Section 3 is completely "self-executing".

They conclude that disqualification subject to Section 3 does not constitute a punishment or a

deprivation of any:liberty" or"right" as much as one who fails to satisfy the Constitution's

qualifications does not have an absolute right to serve in a public office much less the

presidency. Lastly, the scholars conclude that Section 3 is expansive and all-encompassing is

what it regards as "insurrection or rebellion" against the constitutional order ofthe United States.


       Taken along these same lines, had it been conclusively proven that Barack Obama had

not been bom in Hawaii but rather outside of the U.S., the Constitution would have conclusively

barred him from seeking the Presidency. And Petitioner is convinced that there would have been

no "wiggle room" to allow him to escape that Constitutional requirement. Furthermore, had

President Trump merely been thought by many individuals to have engaged in an insurrection

against the federal government, that would not have sufficed to trigger Section 3 ofthe 14'^

Amendment. However,the mere fact that he has been formally indicted for various felonies

including insurrection against the federal government mandates that Section 3 ofthe

Amendment be triggered.



       The bottom line here is that President Tmmp both engaged in an insurrection and also

gave aid and comfort to other individuals who were engaging in such actions, within the clear

meaning ofthose terms as defined in Section Three ofthe 14^ Amendment. Assuming that the
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public record to date is accurate, and we have no evidence to the contrary, Trump is no longer

eligible to seek the office of the President of the United States, or of any other state of the Union.

See: U.S. House of Representatives Final Report Select Committe To Invistigate January 6th

Attack On The United States Capitol Exhibit(s) A


        As such, this Court having the innate power to rule as to the tenets of the U.S.

Constitution, is abjectly required to find that Donald John Trump's actions with respect to

the January     uprising, and specifically the fact that he has been indicted for said acts, have

effectively disqualified him from seeking the office of the President of the United States, and

effectively barred him from participation in the Virginia Republican primary for President next

spring. While Petitioners fully understand that their seeking this declaratory judgment places

great pressure on the jurists who will be tasked with hearing this case, we believe that the law

is abundantly clear as to the issues at bar and that if the jurists are ready to follow the specific

language ofthe US Constitution in this regard, the decision should be a relative easy one.


        WHEREFORE,Petitioners respectftilly asks this honorable Court to enter a

declaratory judgment such that Donald John Trump is barred fi-om seeking the office of

President of the United States and further, is barred rom particpating in the Republican

Presidential primary in Virginia in the spring of 2024.

       Respectfully submitted.



         ^Y-BEY                                           CARLOS A. HOWARD
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                                         UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF VIRIGINIA
                                                                   DIVISION


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                                   Plaintiff(s),

                    V.
                                                                                         ,Ii23CVIIK
                                                                        Civil Action Number: '

               fd           k
                                   Defendant(s).
                                                                                           'JJ




                                LOCAL RULE 83.1(M) CERTIFICATION

I declare under penalty of perjury that:

No attorney has prepared, or assisted in the preparation of           i)ec.kr*.ie'r-^ ^sIibP-
                                                                              (Title of Document)

 Av L. Pffv'ry- AfV
Name 6fPro Se Party (Print or Type)


SigB^^»<jT Pro Se Party

Executed on:                             (Date)

                                                              OR




The following attorncy(s) prepared or assisted me in preparation of
                                                                                (Title of Document)

(Name of Attorney)


(Address of Attorney)


(Telephone Number of Attorney)
Prepared, or assisted in tlie preparation of, this document


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